 PER CURIAM. Progressive Select Insurance Company (hereinafter “Progressive”) petitions this court for a writ of certiorari, seeking to quash an opinion issued by the Circuit Court for Orange County, sitting in its appellate capacity, which affirmed the final judgment entered by the County Court. We deny the petition based upon the reasoning set forth in our opinion in Progressive Select Insurance v. Florida Hospital Medical Center A/A/O Jonathan Parent, No. 5D16-2333, 229 So.3d 901, 2017 WL 5503835 (Fla. 5th DCA Nov. 17, 2017). PETITION DENIED. SAWAYA and EDWARDS, JJ., concur. PALMER, J., dissents, with opinion. 